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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                  Plaintiff,



v.                                   ORDER
                                     Criminal File No. 14-168 (MJD/LIB)

(1) DARRON ISRAEL SHELTON,
(2) QUONTRELL MARTELL BANNER,
(3) KENNETH MELVIN VINSON,

                  Defendants.

Amber M. Brennan, Assistant United States Attorney, Counsel for Plaintiff.

James B. Sheehy, Meshbesher & Spence, Ltd., Counsel for Defendant Darron
Israel Shelton.

Nancy R. Vanderheider, Vanderheider Law Office, Counsel for Defendant
Kenneth Vinson.

Leon A. Trawick, Trawick & Smith, PA, Counsel for Quontrell Martell Banner.



      The above-entitled matter comes before the Court upon the Reports and

Recommendations of United States Magistrate Judge Leo I. Brisbois, dated




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August 28, 2014. 1 [Docket Nos. 91, 92, 93] The Report recommended denying

Defendants’ Motions for Severance [Docket Nos. 37, 63, 64]; denying Defendant

Banner’s Motion to Suppress Evidence Obtained as a Result of Search and

Seizure [Docket No. 39]; denying Defendant Shelton’s Motion to Suppress

Evidence Obtained as a Result of Search and Seizure [Docket No. 50]; denying

Defendant Shelton’s Motion to Suppress Statements, Admission, and Answers

[Docket No. 52]; and denying Defendant Vinson’s Motion to Suppress Physical

Evidence Obtained as a Result of Illegal Searches, Seizures, or Identification

Procedures [Docket No. 55].

      Defendants Shelton, Banner, and Vinson, individually and separately filed

objections to the Report and Recommendation on September 11, 2014. [Docket

Nos. 97, 95, 96] Defendants object on several grounds, arguing that the

Magistrate Judge erred in finding that the traffic stop was constitutional; that a

“felony stop” was permissible under the circumstances; that officers did not

conduct a “search” as defined by the Fourth Amendment; and that Defendants

had failed to carry their burden in overcoming the preference for joint trial.




1The Magistrate Judge issued an identical Report and Recommendation to each
Defendant (hereafter “the Report” or “the Report and Recommendation”).
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      The Government filed an objection to the Report and Recommendation on

September 11, 2014. [Docket No. 99] Specifically, the Government objects to the

Magistrate Judge’s conclusion that probable cause did not support the issuance

of three February 3, 2014 buccal swab warrants. Moreover, the Government

seeks to clarify the Report’s description of where law enforcement discovered the

first of two firearms.

      Pursuant to statute, the Court has conducted a de novo review of the

findings and recommendations to which an objection was made. 28 U.S.C. §

636(b)(1); Local Rule 72.2(b). Based upon that review, the Court ADOPTS the

Report and Recommendation of United States Magistrate Judge Brisbois dated

August 28, 2014, subject to the following exceptions.

      Due to confusion in the record, the Report and Recommendation

understandably misstated the location of the first of the two discovered firearms.

The Report indicates that law enforcement found the first firearm “under the

backseat on the passenger side” of the white SUV occupied by Defendants.

(R&R at 4.) The Government notes that the firearm was actually discovered

underneath the front passenger seat. (See Govt. Ex. 1b at 9:20-9:40.) The parties

do not dispute this fact.



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      The Court also notes the Government’s objection to the Magistrate Judge’s

conclusion that underlying affidavits failed to articulate the probable cause

necessary to support issuance of three February 3, 2014, buccal swab warrants.

See United States v. Pakala, 329 F. Supp. 2d 178 (D. Mass. 2004) (holding that

DNA samples could not have been compelled unless it was first found that the

evidence yielded a DNA sample for comparison); but see United States v. Willis,

Crim. No. 11-13, 2011 WL 1100127 at *3 (D. Minn. Mar. 14, 2011) report and

recommendation adopted, Crim. No. 11-13, 2011 WL 1060981 (D. Minn. Mar. 23,

2011) (finding probable cause supporting issuance of a warrant for defendant’s

DNA based on the belief that samples of the defendant’s DNA, when compared

to “potential” samples from defendant’s shirt, would furnish evidence of a

crime).

      The Magistrate Judge stressed that the affidavits neither “state[d] that any

DNA had in fact already been recovered from any evidence,” nor stated that law

enforcement had tested the evidence to “see whether there was any retrievable

DNA evidence to which any comparison of the DNA sample seized from

Defendants could have been made.” (R&R at 25.)




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      Nevertheless, the Magistrate Judge ultimately concluded that law

enforcement’s good-faith reliance on the warrants militated against excluding

any evidence obtained therefrom. See United States v. Leon, 468 U.S. 897, 919-20

(1984) (exclusionary rule does not apply “when an officer acting with objective

good faith has obtained a search warrant from a judge or magistrate and acted

within its scope”).

      Assuming, without deciding, that probable cause did not exist to support

the issuance of the three February 3, 2104, buccal swab warrants, the Court

agrees with the Magistrate Judge that the Leon good-faith exception would apply

to DNA evidence obtained as a result of issuing the warrants. Therefore, the

Court need not address the Magistrate Judge’s reasoning supporting the

conclusion that the affidavits failed to establish the requisite probable cause.

      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED:

      1. The Court ADOPTS IN PART and DECLINES TO ADOPT IN PART
         the Reports and Recommendations of United States Magistrate Judge
         Leo I. Brisbois, dated August 28, 2014 [Docket Nos. 91, 92, 93], as
         follows: the Court DECLINES TO ADOPT Section III.C.2.b., pp. 23-25,
         up to but not including the final paragraph on p. 25; the Court
         DECLINES TO ADOPT the Report and Recommendation’s p. 4
         account of the first firearm being found “under the backseat on the



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        passenger side;” and the Court ADOPTS the remainder of the Report
        and Recommendation.

     2. Defendant Banner’s Motion for Severance [Docket No. 37] is DENIED
        without prejudice.

     3. Defendant Banner’s Motion to Suppress Evidence Obtained as a Result
        of Search and Seizure [Docket No. 39] is DENIED.

     4. Defendant Shelton’s Motion to Suppress Evidence Obtained as a Result
        of Search and Seizure [Docket No. 50] is DENIED.

     5. Defendant Shelton’s Motion to Suppress Statements, Admissions, and
        Answers [Docket No. 52] is DENIED.

     6. Defendant Vinson’s Motion to Suppress Physical Evidence Obtained as
        a Result of Illegal Searches, Seizures, or Identification Procedures
        [Docket No. 55] is DENIED.

     7. Defendant Shelton’s Motion for Severance [Docket No. 63] is DENIED
        without prejudice.

     8. Defendant Vinson’s Motion for Severance [Docket No. 64] is DENIED
        without prejudice.




Dated: October 14, 2014           s/Michael J. Davis
                                  Michael J. Davis
                                  Chief Judge
                                  United States District Court




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